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                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF RHODE ISLAND


In re: Steven W. DePasquale                                              BK No: 1:19-bk-10189

               Debtor(s)                                                 Chapter: 7


                    ORDER re: STATUS HEARING ON LOSS MITIGATION
                                (this relates to Doc. #_____
                                                        23,42 )


         The Court, having held a status hearing on loss mitigation on _____________,
                                                                       June 25, 2019 at which counsel
for the Debtor(s) and ____________________________
                       Caliber Home Loans, Inc.           (the “Lender”) appeared; and by agreement of
the parties,


IT IS HEREBY ORDERED that the following checked paragraphs are applicable:


    1. All communications shall be conducted between counsel for the parties.

    2. The Lender shall, by email or written correspondence, provide counsel for the Debtor(s) with
       _________________________________________ by ____________.

✔   3. The Debtor(s) shall provide counsel for the Lender with _________________________________
                                                               all requested documents
       by _________________
          July 1, 2019          .

    4. The Lender shall, by __________, conduct a preliminary review of the information submitted by
       the Debtor(s) and provide counsel for the Debtor(s) with a list of any further information it
       requires, including a list of any documents previously submitted by the Debtor(s) that the Lender
       anticipates will need to be updated within the next thirty (30) days (the “Additional Information
       Request”). The Debtor(s) shall fully respond to any Additional Information Request within
       _______ days after receiving the same from the Lender.

    5. The Lender shall, by email or written correspondence, provide the Debtor(s) with a final
       determination regarding the Debtor(s)’ loan modification application by _________________.

✔   6. In lieu of a status report, a continued status hearing on loss mitigation will be held on
       ___________
        7/17/2019   at __________.
                       10:00 a.m.

    7. Other Comments:




                                                       /s/Diane Finkle
                                                       U.S. Bankruptcy Judge
Date Entered: 06/25/2019
